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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                 CASE NO: 8:09-cr-572-T-30TGW

 MARK ANTHONY MYRIE


                                             ORDER

          THIS CAUSE comes before the Court sua sponte. On November 7, 2013, at a

 Status Conference hearing held in open Court, the Court appointed Erik Matheney as the

 Special Prosecutor in the criminal matter involving juror Terri Wright. (See Clerk’s

 Minutes at Dkt. #490). Accordingly, it is

          ORDERED that:

          1.       Erik R. Matheney is appointed as the Special Prosecutor in the criminal

 matter involving juror Terri Wright.

          2.       The Clerk is directed to update its CM/ECF records accordingly.

          DONE and ORDERED in Tampa, Florida, this 28th day of January, 2015.




 Copies furnished to:
 Counsel/Parties of Record
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